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EXHIBIT A

 

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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION

 

COMMODITY FUTURES TRADING COMPLAINT FOR INJUNCTIVE RELIEF,
COMMISSION, and CIVIL MONETARY PENALTIES, AND
OTHER EQUITABLE RELIEF

STATE OF UTAH DIVISION OF
SECURITIES, through Attorney General,
Sean D. Reyes,

Case No. 2:18cv00892
Plaintiffs,

v. Judge¢ Bruce S. Ienkins

RUST RARE COIN TNC., a Utah
corporation, and GAYLEN DEAN RUST, an
individual,

Defendants;

 

 

 

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and

DENISE GUNDERSON RUST, an individual,
JOSHUA DANIEL RUST, an individual,
ALEESHA RUST FRANKLIN, an individual,
R LEGACY RACING INC, a Utah
corporation, R LEGACY ENTERTAINMENT
LLC, a Utah limited liability company, and R
LEGACY INVESTMENTS LLC, a Utah
limited liability company.

Relief Defendants.

 

Plaintiffs Commodity Futures Trading Commission (“CFTC”) and the State of Utah
Division of Securities (“State of Utah”), by and through their undersigned attorneys, hereby
allege as follows:

I. SUMMARY

1. For over thirty years, Gaylen Dean Rust (“Rust”) has owned and operated Rust
Rare Coin, Inc. (“RRC”), a retail coin shop in Salt Lake City, Utah that sold customers rare coins
and precious metals. From at least as early as 2008 and continuing through the present (the
“Relevant Period”) Rust and RRC (collectively, “Defendants”) also have engaged in a massive
scheme to defraud at least 200 individuals_from Utah and at least sixteen other states.
Defendants have fraudulently solicited over $170 million from investors between May 2013 and
August 2018 alone, and throughout the Relevant Period they have tricked investors into
believing that Defendants Were pooling this money for the purpose of entering into contracts of
sale for silver, a commodity in interstate commerce (the “Silver Pool”). Defendants told
investors and prospective investors that they Would sell silver held in the pool as market prices

rose and buy silver for the pool as market prices fell; thereby increasing the amount of silver held

 

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in the Silver Pool, as well as the value of each investor’s share in that pool. Defendants told
investors and prospective investors in the Silver Pool that by trading silver in this manner, they
generated extraordinarily high returns, averaging twenty to twenty-five percent per year and
sometimes as high as forty percent per year or more. Defendants provided investors with
account statements that showed Defendants selling silver at a higher price than they subsequently
repurchased it on every trade they executed on behalf of the Silver Pool_creating the impression
that the Silver Pool was a highly profitable investment Defendants told investors that
Defendants possessed approximately seventy-seven to eighty million dollars of silver on behalf
of the Silver Pool and stored this silver at Brink’s, Incorporated (“Brink’s”) depositories in Salt
Lake City, Utah and Los Angeles, California.

2. The Silver Pool was a sham. Defendants did not use contributions from investors
to purchase silver for the Silver Pool. Instead, Defendants misappropriated investor funds and
used these funds to make payments to other investors, transfer money to other companies owned
by Rust, and pay personal expenses. Defendants never had a trading account in which they sold
and bought back physical silver for the Silver Pool, as falsely claimed in the account statements
they provided to investors. Defendants never earned the returns they touted to investors, and the
payments they made to investors throughout the Relevant Period consisted of funds provided by
other Silver Pool investors, not from profits generated from trading physical silver_in other
words payments in the manner of a Ponzi scheme. Although Defendants transferred a small
portion of investor contributions to accounts at several precious metals dealers, Defendants never
purchased and stored anything approaching the approximately seventy-seven to eighty million

dollars of silver they claimed to be storing at Brink’s depositories in Salt Lake City and/or Los

 

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Angeles.

3. Throughout the Relevant Period, Defendants transferred large amounts of money
they solicited and received from Silver Pool investors to Relief Defendants Denise Gunderson
Rust (“Denise Rust”), Joshua Daniel Rust (“Joshua Rust”), Aleesha Rust Franklin (“Aleesha
Franklin”), R. Legacy Entertainment, LLC (“R. Legacy En_tertainment”), R. Legacy Racing Inc.
(“R. Legacy Racing”), and R. Legacy Investments LLC (“R. Legacy Investments”) (collectively,
“Relief Defendants”). Relief Defendants used money contributed by investors to fund various
personal and unrelated business expenses.

4. Defendants’ fraudulent scheme is ongoing. In the first eight months of 201 8,
Defendants have received at least $42 million from Silver Pool investors and paid approximately
$26 million back to Silver Pool investors. Defendants have attempted to solicit new investors in
the Silver Pool at least as recently as October 8, 2018.

5. By engaging in this conduct and the conduct further described herein, Defendants
have engaged, are engaging, or are about to engage in violations of the anti-fraud provisions of
the Commodity Exchange Act (“Act”), 7 U.S.C. §§ 1-26 (2012), and Commission Regulations
(“Regulations”), 17 C.F.R. pts. 1-190 (2018), as well as the Utah Uniform Securities Act
(“UUSA”), § 61-1-1 to 61-1-32.

6. Unless restrained and enjoined by the Court, Defendants are likely to continue
engaging in the acts and practices alleged in this Complaint or in similar acts and practices, and
funds they have obtained fraudulently may be misappropriated or otherwise dissipated

7. Plaintiffs bring this action pursuant to Sections 6c and 6d of the Act, 7 U.S.C.

§§ 13a-1, 13a-2 (2012), and Section 61-1-20 of the UUSA to enjoin Defendants’ unlawful acts

 

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and practices and to compel Defendants’ compliance with the Act and the UUSA.
II. JURISDICTION AND VENUE

8. This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331
(2012) (federal question jurisdiction) and 28 U.S.C. § 1345 (2012) (district courts have original
jurisdiction over civil actions commenced by the United States or by any agency expressly
authorized to sue by Act of Congress). Section 6c(a) of the Act, 7 U.S.C. § 13a-1(a) (2012),
authorizes the Commission to seek injunctive and other relief against any person whenever it
appears to the Commission that such person has engaged, is engaging, or is about to engage in
any act or practice constituting a violation of any provision of the Act or any rule, regulation, or
order thereunder. Section 6d(1) of the Act, 7 U.S.C. § 13a-2(1) (2012), authorizes the State of
Utah to bring a suit in the district courts of the United States to seek injunctive and other relief
against any person whenever it appears to the Attorney General of Utah, or the administrator of
the securities laws of Utah, or such other official that Utah may designate, that the interests of
the residents of Utah have been, are being, or may be threatened or adversely affected because of
violations of the Act or Regulations.

9. This Court has supplemental jurisdiction over the State of Utah’s claims under
Utah law pursuant to 28 U.S.C. § 1367(a) (2012),

10. Venue lies properly in this District pursuant to Section 60(e) of the Act, 7 U.S.C.
§ 13a-1(e) (2012), because Defendants transacted business in this District, and certain of the acts
and practices in violation of the Act, the Regulations, and Utah law occurred, are occurring, or
are about to occur within this District, among other places.

III. PARTIES

 

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11. Plaintiff Commodity Futures Trading Commission is an independent federal
regulatory agency that is charged by Congress with the administration and enforcement of the
Act and Regulations promulgated thereunder.

12. Plaintiff State of Utah Division of Securities is the administrator of the securities
laws of the state of Utah and is authorized under Section 6d of the Commodity Exchange Act, 7
U.S.C. § 13a-2 (2012), and Utah law, including Section 61-20-20(2)(a) of the UUSA, to bring
this action on behalf of the State of Utah and its citizens to enforce Utah law (including the
UUSA), the Act, and Regulations.

13. Defendant RRC is a Utah corporation incorporated on October 5, 1983, with its
principal place of business at 242 East 300 South, Salt Lake City, Utah 84111. RRC operates as
a coin and precious metal dealer in this district and throughout the United States. At all times
material to this Complaint, acting alone or in concert with others, RRC participated in the acts
and practices set forth in this Complaint. RRC, in connection With the matters alleged herein,
transacts or has transacted business in this district and throughout the United States. RRC has
never been registered with the CFTC in any capacity. RRC has never been registered in any
capacity within the securities industry in the State of Utah. RRC has never registered a securities
offering in the State of Utah, it is not eligible for any applicable exemption from registration, and
its securities are not federally-covered securities for which a notice filing has been made.

14. Defendant Rust is an individual who resides in Layton, Utah. Rust is the sole
owner of RRC and serves as RRC’s President and sole Director. At all times material to this
Complaint, acting alone or in concert with others, Rust formulated, directed, controlled, had the

authority to control, or participated in the acts and practices of RRC described in this Complaint.

 

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Rust, in connection with the matters alleged herein, transacts or has transacted business in this
district and throughout the United States. Rust has never been registered with the CFTC in any
capacity. Rust has never been registered in any capacity within the securities industry in the
State of Utah.

15. Relief Defendant Denise Rust is an individual who resides in Layton, Utah.
Denise Rust is Rust’s spouse. She serves as RRC’s Secretary and has signatory authority on
several of RRC’s bank accounts. Denise Rust assists in the day-to-day operations of RRC and
Rust’s other business entities. During the Relevant Period, Denise Rust received payments from
RRC into her personal bank accounts that included funds contributed to RRC by investors in the
Silver Pool for the purpose of investing in the Silver Pool.

16. Relief Defendant Joshua Rust is a resident of Draper, Utah and the son of Rust
and Denise Rust. Joshua Rust holds himself out as the manager of RRC, and he has signatory
authority on several RCC bank accounts. Joshua Rust assists in the day-to-day operations of
RRC. During the Relevant Period, Joshua Rust received payments from RRC into his personal
bank accounts that included funds contributed to RRC by investors in the Silver Pool for the
purpose of investing in the Silver Pool. `

17 . Relief Defendant Aleesha Franklin is a resident of Homer, Alaska and the
daughter of Rust and Denise Rust. During the Relevant Period, Aleesha Franklin received
payments from RRC into her personal bank account that included funds contributed to RRC by
investors in the Silver Pool for the purpose of investing in the Silver Pool.

18. Relief Defendant R Legacy Racing is a Utah corporation incorporated on April

30, 2007, with its principal place of business at 2815 W. Gordon Avenue, Layton, Utah 84041.

 

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Rust owns R Legacy Racing, and Rust and Denise Rust serve as its directors. During the
Relevant Period, R Legacy Racing received payments from RRC into its bank accounts that
included funds contributed to RRC by investors in the Silver Pool for the purpose of investing in
the Silver Pool.

19. Relief Defendant R Legacy Entertainment is a Utah limited liability company
incorporated on December 1, 2009, with its principal place of business at 242 East 300 South,
Salt Lake City, Utah 841 11. Rust and Denise Rust are the only members of R Legacy
Entertainment. During the Relevant Period, R Legacy Racing received payments from RRC into
its bank accounts that included funds contributed to RRC by investors in the Silver Pool for the
purpose of investing in the Silver Pool.

20. Relief Defendant R Legacy Investments is a Utah limited liability company
incorporated on March 27, 2002, with is principal place of business at 2815 West Gordon
Avenue, Layton, Utah 84041. Rust is the sole member and manager of R Legacy Investments.
During the Relevant Period, R Legacy Investments received payments from RRC into its bank
accounts that included funds contributed to RRC by investors in the Silver Pool for the purpose
of investing in the Silver Pool.

IV. FACTS
A. Defendants Engaged in a Scheme To Defraud Silver Pool Investors by

Making False Representations and Omitting Material Facts,
Misappropriating Investor Funds, and Providing False Account Statements

1. Defendants Solicited lndividual Investors To Contribute to a Pooled
Investment lnvolving Contracts of Sale for Silver, a Commodity in
lnterstate Commerce

21. Defendants promoted the Silver Pool as an exclusive investment opportunity

 

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reserved for individual investors with a personal or business connection to Rust. Defendants
solicited friends or business associates of Rust and/or customers of RRC to contribute money to
the Silver Pool. These friends and customers in turn spread word of the Silver Pool and the
investment returns Defendants were purportedly generating to certain friends and family, some
of whom also gave money to Defendants for the Silver Pool. Defendants pooled the
contributions they received from investors in two bank accounts in the name of RRC.

22. Defendants told investors and prospective investors that they were using the
money contributed to the Silver Pool to purchase and store physical silver for investment. Under
Section 1a(9) of the Act, 7 U.S.C. § 1a(9) (2012), silver is a statutorily-defined commodity.
Defendants used the mails or other instrumentalities of interstate commerce to: (1) receive
checks from Silver Pool investors in the pool; (2) receive into their bank accounts wire transfers
from Silver Pool investors in the pool; (3) disseminate false account statements to Silver Pool
investors.

23. Defendants’ Silver Pool, which they operated and marketed to investors and
prospective investors, is an investment contract, which is a security under the UUSA. Silver
Pool investors have no role in Defendants’ business operations and only provide investment
funds.

24. Defendants did not provide Silver Pool investors with a written agreement or
contract setting forth the terms of the investment. In addition, Defendants did not provide Silver
Pool investors with a disclosure document such as an offering circular or prospectus. Silver Pool
investors received only a single-page receipt documenting the size of their contribution to the

Silver Pool.

 

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25. Defendants have been soliciting and receiving contributions for the Silver Pool
from investors and prospective investors since at least 2008. Since 2013, Defendants have
received at least $170 million in contributions from investors for the Silver Pool.

2. Defendants Falselv Renresented that Thev Used Contributions to the
Silver Pool To Purchase and Trade Silver; Instead, Defendants

Misappronriated this Monev for Personal Exnenses and To Fund Rust’s
Other Businesses

26. Defendants told investors and prospective investors that they used money
contributed to the Silver Pool to purchase physical silver, which they stored at one of two
Brink’s storage facilities either in Salt Lake City, Utah or Los Angeles, California. In 2018,
Defendants claimed that they held between seventy-seven and eighty million in the Silver Pool,
all of which was in the form of physical silver stored at these two Brink’s depositories.
Defendants represented that investors could liquidate their investments and obtain the cash value
of their share in the Silver Pool at any time. Defendants further represented to investors that
Defendants would sell silver held in the Silver Pool to fund any such liquidation request.

27. Defendants claimed that they generated profits for investors by selling silver they
held in the Silver Pool either when market prices for physical silver began to rise or immediately
before those prices began to decline. Defendants claimed that after market prices for silver
declined, they used the proceeds from their sale of silver to purchase a larger quantity of silver at
a lower price. As a result of this trading, Defendants claimed that they were able to increase the
number of ounces of silver held in the Silver Pool and thus the value of each investor’s share in
the Silver Pool. Defendants told investors and prospective investors that Defendants sold and

repurchased approximately fifty percent of the total amount of silver held in the Silver Pool in

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each trade.

28. Defendants told some Silver Pool investors and prospective investors that they
were able to consistently sell silver at higher prices and purchase silver back at lower prices
because they had advance knowledge of when market prices of silver would decline.
Specifically, Rust claimed that he had a personal relationship with a commodity analyst at a large
global bank and that Rust obtained information from this analyst regarding when that bank and
other market participants planned to sell large quantities of physical silver, driving down market
prices.

29. Defendants told investors and prospective investors that by trading silver in this
manner, Defendants were able to generate high rates of return for the Silver Pool. Specifically,
Defendants often told Silver Pool investors and prospective investors that Defendants were able
to generate “consistent” returns of twenty to twenty-five percent through their selling and
subsequent repurchase of silver. Defendants told some Silver Pool investors and prospective
investors that they had generated returns as high as forty percent between 2013 and 2018.
Further, Defendants told some Silver Pool investors that their investments “doubled” in 2014.

30. Defendants represented to Silver Pool investors and prospective investors that
` Rust had an account with HSBC Bank (“HSBC”) through which Rust traded the silver held in
the Silver Pool. Defendants also told these investors and prospective investors that after selling
and repurchasing silver through their HSBC account, Defendants received the additional silver
they obtained through these trades at Brink’s facilities in Salt Lake City, Utah and Los Angeles,
California.

31. The statements Defendants made to solicit investors and prospective investors to

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contribute to the Silver Pool were false. Defendants do not currently store any physical silver at
Brink’s facilities in Salt Lake City, Utah, Los Angeles, California, or anywhere else. Brink’s has
never had a contract to store silver for RRC or Rust. In addition, storing the $77 million to $80
million worth of physical silver Defendants claimed to hold in the Silver Pool would cost in
excess of 8100,000 per year in annual storage fees. Defendants have never paid Brink’s any
annual storage fees, let alone annual storage fees approaching $100,000. Although at one time
prior to 2016 Brink’s stored approximately $1 million worth of physical silver for Defendants,
this amount is far less than the amount of physical silver Defendants claimed to hold at the time
and the approximately $170 million Defendants have received from Silver Pool investors since
2013.

32. Furthermore, Defendants did not trade silver in the manner they described to
Silver Pool investors. Defendants never had a trading account with HSBC Bank (“HSBC”)
through which they traded physical silver, as they represented to investors and prospective
investors.

33. Instead, Defendants misappropriated funds invested in the Silver Pool.
Defendants used money contributed by Silver Pool investors to pay personal expenses, such as,
for example, mortgage payments on the home of a family member of Rust. Defendants also used
money contributed by Silver Pool investors to make payments to other investors in the pool, in
the manner of a Ponzi scheme. Specifically, after receiving a new deposit from a Silver Pool
investor, Defendants frequently made smaller payments to several other Silver Pool investors out
of the same account without ever transferring funds to or from a trading account or any other

account that could be used to buy or sell silver or other precious metals.

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34. In addition, Defendants transferred money contributed by Silver Pool investors to
other entities owned by Rust, including, but not limited to, Relief Defendants R. Legacy
Entertainment, R. Legacy Racing, and R. Legacy Investments. R. Legacy Entertainment did not
own silver or other precious metals, or own any trading or other accounts used to buy or sell
silver or other precious metals. Instead, R. Legacy Entertainment operated a variety of
businesses and charitable activities having no connection to the purchase and sale of silver,
including a music recording studio, a video production business, and a catering and event
planning business. R. Legacy Racing did not own silver or own any trading or other accounts
used to buy or sell silver or other precious metals. Instead, R. Legacy Racing owned
thoroughbred horses.

35. Defendants also transferred money contributed by Silver Pool investors to several
personal bank accounts, including personal bank accounts owned by Rust and Relief Defendants
Denise Rust, Joshua Rust, and Aleesha Franklin, where it was used for a variety of personal
expenses.

36. For example, between January 1, 2018, and August 31, 2018, Defendants received
over $42 million in new contributions from Silver Pool investors and deposited all these
contributions in an account at Zion’s Bank held in the name of RRC ending in 7496 (the “7496
Account”). During this time period, Defendants made approximately $28 million in payments
from the 7496 Account to Silver Pool investors.

37 . Between January 1, 2018, and August 31, 2018, Defendants transferred
approximately $7 million from the 7496 Account to RRC’s other Zion’s Bank accounts, where it

was commingled with the revenue and expenses associated with RRC’s coin shop business.

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Defendants used $15,173,104 from a Zion’s Bank account in the name of RRC ending in 3564
(the “3564 Account”) to purchase precious metals and coins, both from wholesale precious
metals dealers and individuals. During this same time period, Defendants also sold $9,338,421
in precious metals and coins to both wholesale precious metals dealers and individuals. During
this time period, Defendants had net purchases of precious metals amounting to $5,834,683,
despite having received over $42 million from individuals for the purpose of purchasing precious
metals.

38. In addition, from January 1, 2018, to August 31, 2018, Defendants transferred
approximately $4.9 million from the 7496 Account to Relief Defendant R. Legacy
Entertainment. Defendants transferred approximately $300,000 from the 7496 Account to Relief
Defendant R. Legacy Racing. Defendants transferred approximately $654,920 from the 7496
Account to Relief Defendant R. Legacy Investments. Because the amounts each of these Relief
Defendants received from the 7496 Account far exceed the approximately $48,000 Defendants
received into the 7496 Account from sources other than Silver Pool investors, the money
Defendants transferred to Relief Defendants from the 7496 Account consists almost entirely of
money contributed by Silver Pool Investors. Relief Defendants R. Legacy Entertainment, R.
Legacy Racing, and R. Legacy lnvestments have no legitimate claim to the funds that they
received from this Zion’s Bank account.

39. From January 1, 2018, to August 31, 2018, Defendants transferred approximately
$130,308 from the 7496 Account to Relief Defendant Denise Rust. Again, the money
transferred to Denise Rust consisted largely of money contributed by Silver Pool investors.

Denise Rust has no legitimate claim to the funds that she received from this Zion’s Bank

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account.

40. From January 1, 2018, to August 31, 2018, Defendants transferred approximately
$121,500 from the 7496 Account to Relief Defendant Aleesha Franklin. Again, the money
transferred to Aleesha Franklin consisted largely of money contributed by Silver Pool investors.
Aleesha Franklin has no legitimate claim to the funds that she received from this Zion’s Bank
account

41. During this same time period, Defendants transferred approximately $292,3 84
from the 7496 Account to a Zion’s Bank account in the name of Relief Defendant Joshua Rust
(the “Joshua Rust Account”) and received approximately $407,735 from the Joshua Rust
Account into the 7496 Account. This resulted in a net receipt of $115,351 from the Joshua Rust
Account. During this same time period, Defendants transferred approximately $2,030,206 from
RRC’s other bank accounts at Zion’s Bank, including the 3564 Account, to the Joshua Rust
Account and received approximately $1,786,865 from the Joshua Rust Account. As a result,
Defendants paid a net total of $243,341 from RRC’s other bank accounts, including the 3564
Account, to the Joshua Rust Account. Joshua Rust has no legitimate claim to the funds he
received from these other Zion’s Bank accounts

42. Defendants knew that the statements and representations described above that
they made to Silver Pool investors and prospective investors were false when they made them.
Defendants intended to and did misappropriate the vast majority of Silver Pool investor funds
they received during the Relevant Period.

43. In addition to the false statements described above, Defendants omitted material

facts when soliciting investors and prospective investors for the Silver Pool that were necessary

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to make the statements made, in light of the circumstances under which they were made, not
misleading Specifically, Defendants omitted the following:

a. That Defendants would use Silver Pool investor funds to pay for personal
and business expenses;

b. That Silver Pool redemptions would be paid out of money contributed by
other investors and not sales of silver actually held by Defendants in
storage facilities;

c. That Defendants would use Silver Pool investor funds to fund the
activities of other businesses owned by Rust;

d. That Defendants were not licensed to sell securities, and the securities
were not registered or exempt from registration; and

e. All of the information typically included in disclosure documents (offering
memoranda or prospectus) that accompany the sale of securities.

44. Throughout the Relevant Period, Defendants solicited most, if not all, investors
and prospective investors in the Silver Pool using some variant of the fraudulent statements and
misrepresentations described above. ln addition, Defendants omitted the facts described above
to most, if not all, investors and prospective investors in the Silver Pool in the course of
soliciting contributions from them.

3. Defendants Provided Investors with False Account Statements that Depicted
Fictitious Trading Activitv and Misstated the Amount of Silver Defendants Held
in the Silver Pool

45. Defendants provided Silver Pool investors with account statements that purported
to show each trade involving silver Defendants executed on behalf of the Silver Pool.
Specifically, these statements purported to show the number of ounces of silver involved in each

sale, the price at which Defendants sold silver, the price at which Defendants repurchased the

silver, and the number of ounces by which the Silver Pool’s holdings of silver increased as a

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result of the trade.

46. According to these account statements, Defendants successfully sold silver at a
higher price than they subsequently repurchased it on every single trade they executed on behalf
of the Silver Pool. According to these account statements, Defendants increased the number of
ounces held in the Silver Pool on every trade they executed.

47. These Silver Pool account statements were false. Defendants never executed the
sales and repurchases of silver listed in each account statement In addition, Defendants
occasionally provided investors with account statements that listed inconsistent trade details
(such as price and quantity) for the same trade dates, despite Defendants’ representation that they
traded a single account on behalf of the entire Silver Pool.

48. These false account statements misrepresented the number of ounces of silver
allocated to individual investors in the Silver Pool. As a result of these false account statements,
Silver Pool investors believed they owned a share in the Silver Pool equal to the value of the
number of ounces of silver indicated on the account statements and that Defendants Were storing
silver on their behalf at Brink’s storage facilities in Salt Lake City and/or Los Angeles, In fact,
Defendants did not hold or possess, either on behalf of Silver Pool investors or in their own
names, the number of ounces of silver indicated on the account statements

49. Defendants prepared and disseminated to Silver Pool investors false account
statements that contained the false and misleading information described above throughout the
Relevant Period. In fact, the account statements Defendants prepared and disseminated to Silver
Pool investors in 2008 closely resembled the form of the account statements they prepared and

disseminated to Silver Pool investors in 2018 and contained similarly false information regarding

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trades Defendants claimed to have executed on behalf of the Silver Pool and the value of
individual investors’ shares in the Silver Pool.

50. Defendants knew these account statements were false when they prepared and §
disseminated them to Silver Pool investors. Defendants prepared and disseminated these false
account statements in order to perpetrate and conceal their fraud from Silver Pool investors.

B. Speciflc Examples of Defendants’ Fraud

51. Defendants’ fraudulent scheme, and the specific misrepresentations and
misleading omissions they made to investors and prospective investors to solicit contributions to
the Silver Pool, are illustrated by the following examples.

1. Defendants Made Fraudulent Misrepresentations and Omissions to Silver
Pool Investor D.C.

52. Silver Pool investor D.C. is a Utah resident. ln or around August 2017, D.C.’s
friend and business associate, L.F., told him about Rust’s Silver Pool. L.F. told D.C. that L.F.
had been investing with Rust in the Silver Pool for approximately two years and had obtained
good results.

53. On August 9, 2017, D.C. invested $150,000 in Defendants’ Silver Pool via two
separate checks both payable to RRC. On January 22, 2018, D.C. invested an additional
$400,000 in Defendants’ Silver Pool, via check payable to RRC.

54. In May 2018, D.C. met in person with Rust at RRC’s retail store in Salt Lake
City, Utah to learn more about the Silver Pool.

5 5. During this May 2018 meeting, Defendants made the following
misrepresentations to D.C. about the Silver Pool:

a. Defendants use funds contributed to the Silver Pool to purchase physical

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silver. Defendants store the silver they purchase for the pool with a local
company.

b. Rust uses an independent auditor to verify that the amount of silver
shipped to the storage facility matches what Defendants purchased with
investor funds.

c. Defendants trade the silver held in the Silver Pool to generate investment
returns for investors.

d. Defendants’ trading strategy is to sell the silver held in the Silver Pool
when prices in the silver market go up. After prices in the silver market
have come back down, Defendants buy silver back at a lower price with
the proceeds of the sale, thus increasing the amount of silver held in the
Silver Pool.

e. Using this trading strategy, Defendants have generated returns averaging
between fifteen percent and twenty-five percent per year.

f. Defendants typically generate a profit from each sale and repurchase of
silver they make. Only on a few rare occasions have Defendants made
trades that did not generate a profit.

56. After the May 2018 meeting with Rust, D.C. made four more contributions to the
Silver Pool. 0n May 9, 2018, D.C. contributed $500,000 to the Silver Pool via check payable to
' RRC, which Defendants deposited in the 7496 Account. On May 16, 2018, D.C. contributed
$1,000,000 to the Silver Pool via internal bank transfer to the 7496 Account. On May 23, 2018,
D.C. contributed $500,000 to the Silver Pool via wire transfer to the 7496 Account. And on June
1, 2018, D.C. contributed $500,000 to the Silver Pool via check payable to RRC, which
Defendants deposited in the 7496 Account.

57 . As of June 1, 2018, D.C. had contributed a total of $3,050,000 to the Silver Pool.

58. D.C. did not receive an offering circular or prospectus prior to (or after)
contributing money to the Silver Pool.

59. D.C. had no involvement in the Silver Pool investment opportunity other than

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providing investment funds.

60. D.C. received monthly account statements from Defendants for the months of
July 2018 and August 2018. These statements purported to show the quantity of silver allocated
to D.C.’s share in the Silver Pool, including the quantity of silver added to his investment as a
result of Defendants’ trading activity. According to these statements, Defendants executed one
trade in June 2018, nine trades in July 2018, and six trades in August 2018. These statements
indicate the date of each sale and corresponding repurchase of silver executed by Defendants
during the relevant month, the quantity sold and repurchased, the price per ounce paid by
Defendants in each sale and repurchase, the total value of the amount of silver sold and
purchased, and the increase in the number of ounces of silver allotted to D.C.’s share in the
Silver Pool. According to these statements, Defendants increased the number of ounces allotted
to D.C. in every sale and repurchase of silver they executed on behalf of the Silver Pool.

61. The July and August 2018 statements Defendants provided to D.C. were false.
Defendants did not engage in the trades depicted on the statements, Defendants did not increase
the amount of silver D.C. owned through his investment in the Silver Pool as reflected in these
statements,

62. On or about August 31, 2018, D.C. asked Rust to return $1.5 million of D.C.’s
share in the Silver Pool. At this time, according to the statements provided by Defendants,
D.C.’s share in the Silver Pool totaled $3,189,433.80. D.C. told Rust he needed the funds by
September 12, 2018.

63. Even though the Silver Pool account statements provided by Rust to D.C.

indicated that Defendants sold at least $l .5 million worth of silver on six dates in August 2018,

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and had funds available to repurchase silver within at most four days of the sale, Rust told D.C.
that it would be difficult to liquidate $1.5 million of D.C.’s share of the Silver Pool by
September 12, 2018.

64. In three separate wire transfers in September and October 2018, Defendants paid
to D.C. an amount equal to the total amount of D.C.’s original contributions to the Silver Pool
plus an additional amount intended to represent interest on the amount of those original

contributions

2. Defendants Made Fraudulent Misrenresentations and Omissions to Silver
Pool Investor H.H.

65. Investor H.H. is a Utah resident. H.H. was employed by RRC as an Information
Technology Specialist from July 2017 to July 2018. H.H. provided IT services to both RRC and
R Legacy Entertainment, as well as other entities owned and controlled by Rust.

66. As part of H.H.’s compensation package, Defendants gave H.H. a $35,000 share
in the Silver Pool. Defendants explained to H.H. that they receive funds from investors to
purchase physical silver and trade that silver to generate profits for investors

67. Shortly after H.H. began working for RRC, H.H. explored making an additional
investment in the Silver Pool with his own funds. In early July 2017, H.H. met with Rust at
RRC’s retail store in Salt Lake City to discuss this additional investment. During this meeting,
Defendants made the following misrepresentations to H.H. about the Silver Pool:

a. Defendants collect money contributed by investors and pool that money to
purchase physical silver on behalf of the Silver Pool;

b. Defendants actually possess the silver they purchase on behalf of the
Silver Pool and use Brink’s to transport, secure, and store the silver;

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c. Defendants generate trading profits for the Silver Pool by selling silver
and then repurchasing it at a lower price in order to increase the number of
ounces of silver held in the Silver Pool;

d. Specifically, Defendants receive information from a large global bank
regarding when market participants intend to sell large quantities of silver
and drive down the market price of silver. After receiving this
information, Defendants sell approximately half of the silver held in the
Silver Pool. After the market price of silver falls, Defendants use the
proceeds from the sale of the silver to repurchase silver at the lower price;

e. Defendants trade silver on behalf of the Silver Pool through HSBC Bank;

f. Defendants measure the trading profits they generate through silver
trading as the increase in the number of ounces generated by their sale and
repurchase of silver. Defendants have never generated annual returns less
than twenty percent and have generated annual returns as high as seventy
percent; and

g. Over the three years prior to the meeting with H.H., Defendants generated
annual trading profits between twenty-two and twenty-six percent each
year.

68. Following this meeting with Rust, H.H. decided to invest an additional $96,000 in
the Defendants’ Silver Pool. On or about July 6, 2017, H.H. hand-delivered a cashier’s check to
Rust in the amount of $96,000 made payable to RRC, which Defendants deposited in the 7496
Account.

69. By July 7, 2017, Defendants disbursed all the money in the 7496 Account,
including the money contributed by H.H. Between July 5th and July 7th, 2017, Defendants used
the money in the 7496 Account to make payments to other investors; to fund transfers to Rust’s
other businesses, including Relief Defendants R. Legacy Entertainment and R. Legacy Racing;
and to fund transfers to other accounts in the name of RRC, including the 3564 Account.
Although Defendants later sent some money from the 3564 Account to Jack Hunt Coin Broker,

Inc. (“Jack Hunt”), a wholesale precious metals dealer, the amount they sent to Jack Hunt was

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far less that the $96,000 contributed by H.H.

70. H.H. did not receive an offering circular or prospectus prior to (or after) investing
in the Defendants’ Silver Pool. H.H. did not receive a written agreement outlining the terms of
his Silver Pool investment.

71. Prior to accepting funds, Rust did not ask H.H. about the source of his funds, his
risk tolerance, or his net worth.

72. H.H. had no involvement in the Silver Pool other than providing investment
funds

73. Defendants provided H.H. with a total of eight account statements that
purportedly depicted Defendants’ trading activity on behalf of the Silver Pool and the value of
H.H.’s investment H.H. received account monthly statements for July through October 2017 ,
and January through April 2018.

74. In each of these ten months, H.H.’s account statements show an increase every
month in the number of ounces of silver purportedly owned by H.H. through his investment in
the Silver Pool. According to these statements, H.H. began with 8,074 ounces of silver in
July 2017 and owned 10,209 ounces by April,2018. The value of H.H.’s share in the Silver Pool,
according to these statements, increased from $131,000 to $176,077.72, a gain of approximately
thirty-four percent. The Silver Pool account statements provided by Defendants to H.H. were
false, and the investment returns reflected in them were fictitious At no time between July 2017
and April 2018 did Defendants trade physical silver as shown in H.H.’s Silver Pool account
statements

75. In July 2018, RRC terminated H.H.’s employment for reasons unrelated to H.H.’s

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involvement in the Silver Pool. On August 6, 2018, H.H. went to RRC’s retail store in Salt Lake

City to discuss with Rust his participation in the Silver Pool in light of his termination.

76. During this August 6, 2018, meeting, Defendants made further misrepresentations

to H.H about the Silver Pool, including:

a.

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that over the past thirty years, Defendants have consistently generated
annual returns of twenty to twenty-five percent from trading physical
silver in the manner they previously described to H.H. Defendants further
told H.H. that in his worst year they generated an annual return of twelve
percent. Defendants told H.H. that over the last five years, the lowest
annual return they generated was forty percent;

that Defendants hold the physical silver owned on behalf of the Silver
Pool at Brink’s facilities in Salt Lake City, Utah and Los Angeles,
California;

that Defendants trade the silver they own on behalf of the Silver Pool
through a single account with HSBC Bank; and

that Defendants receive information from a commodity analyst at a large
global bank regarding anticipated movements in the price of silver and use
this information to sell silver and repurchase it at a lower price.

77. At the August 6, 2018, meeting, Defendants told H.H. that to liquidate his share in

the Silver Pool, he could either (1) take possession of the physical silver purchased with H.H.’s

investment funds, (2) take possession of gold and silver eagles (coins) in an equivalent value, or

(3) cash out the investment.

78. On or about August 14, 2018, H.H. made a request to Defendants via telephone to

liquidate his share in the Silver Pool in the form of cash. Approximately three weeks later, H.H.

received a wire transfer from RRC in the amount of $171,793.02, which purportedly included the

$35,000 Defendants told H.H. they contributed to the Silver Pool as part of H.H.’s compensation,

the $96,000 H.H. contributed himself, and investment gains purportedly resulting from

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Defendants trading and reflected in the account statements Defendants provided to H.H.
Defendants did not sell silver to fund this wire transfer to H.H.; instead, Defendants used money
recently contributed by two other investors

C. Defendants Continue To Solicit New Investors for Their Fraudulent Scheme

79. Defendants continue to solicit new investors for the Silver Pool by making the
same misrepresentations and omitting the same material facts as described above. In addition,
Defendants continue to make these misrepresentations and misleading omissions to current
Silver Pool investors, misappropriate Silver Pool investor funds, and provide existing Silver Pool
investors with false account statements that misrepresent the value of their interest in the Silver
PooL

80. For example, on September 6, 2018, Defendants solicited an FBI Special Agent
posing as a prospective investor in the same manner as they solicited investors and prospective
investors throughout the Relevant Period. At a meeting at RRC’s retail store in Salt Lake City,
Utah, Defendants falsely stated to this FBI Special Agent:

a. that all trades Defendants executed on behalf of the Silver Pool involved
actual physical silver Defendants possessed and stored in Brink’s storage
facilities in Salt Lake City, Utah and Los Angeles, Califomia, and that
Defendants were in possession of, as of September 6, 2018, approximately
$77 million in silver held in these storage facilities, when in fact
Defendants had no silver stored with Brink’s;

b. that Defendants would use money contributed to the Silver Pool by new
investors to purchase additional silver for the Silver Pool, when in fact
Defendants used new contributions to make payments to existing investors
and fund transfers to Rust’s other businesses only occasionally sending
money to precious metals dealers;

c. that Defendants had an account with HSBC Bank through which Rust

traded silver on behalf of the Silver Pool, when in fact, neither Rust nor
RRC had a trading account with HSBC;

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d. that Rust had a “very good personal relationship” with a commodity
analyst at a global bank, who provided Rust with information regarding
the price levels at which market participants purportedly would sell silver

` into the market and drive down the market price, allowing Rust to sell
silver held in the Silver Pool and repurchase it at lower price;

e. that investors in the Silver Pool could expect returns of approximately
twenty to twenty-five percent from Defendants’ trading, and Defendants
had generated returns as high as 112 percent within the five years prior to
September 6, 2018, when in fact, Defendants did not sell and then
repurchase silver as described and never generated such investment
returns; and

f. any request by an investor to liquidate his or her share in the Silver Pool
would be funded by selling silver Defendants held in the Silver Pool,
when in fact Defendants funded such requests using new contributions
from new and existing Silver Pool investors

D. Rust Acted as a Controlling Person for RRC

81. At all times during the Relevant Period, Rust was RRC’s owner, sole director,
president, and registered agent.

82. During the Relevant Period, Rust made all financial and strategic business
decisions for RRC.

83. During the Relevant Period, Rust directed, among other things, the opening of
bank accounts and signing of documents on behalf of RRC. In addition, Rust was a signatory on
each of RRC’s bank accounts

84. Rust knowingly induced RRC’s fraudulent acts by virtue of directing those

fraudulent acts

E. Rust Acted as an Agent for RRC

85 . Rust acted as an agent for RRC. He solicited investors on behalf of RRC,

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generated Silver Pool account statements on behalf of RRC, and handled all Silver Pool investor
funds received by RRC. As the owner, sole director, president, and registered agent of RRC,
Rust acted on behalf of RRC.

V. VIOLATIONS OF THE COMMODITY EXCHANGE ACT AND COMMISSION
REGULATIONS

COUNT I - AGAINST ALL DEFENDANTS
FRAUD

violations of Section 6(¢)(1)0fthe Act, 7 U.s.C. § 9(1) (2012), and Regulation 180.1(a)(1)-
(3), 17 c.F.R. § 180.1(a)(1)-(3) (2018)

86. The allegations in paragraphs 1 through 85 are re-alleged and incorporated herein
by reference.

87. By reason of the conduct described above, Defendants Rust and RRC, since
August 15, 2011, in connection with a contract of sale of commodities in interstate commerce,
intentionally or recklessly: (1) used or employed, or attempted to use or employ, manipulative
devices, schemes, or artifices to defraud; (2) made, or attempted to make, any untrue or
misleading statements of material fact or omissions of material fact; or (3) engaged, or attempted
to engage, in acts, practices, or courses of business, which operated or would have operated as a
fraud or deceit upon participants in the Silver Pool.

88. By reason of the foregoing, Rust and RRC have violated and continue to violate 7
U.S.C. § 9(1) and 17 C.F.R. § 180.1(a)(1)-(3).

89. At all times relevant to this Complaint, Rust controlled RRC, directly or
indirectly, and did not act in good faith or knowingly induced, directly or indirectly, RRC’s

conduct alleged in this Count; therefore, pursuant to Section 13(b) of the Act, 7 U.S.C. § 13c(b)

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(2012), Rust is liable for RRC’s violations of7 U.S.C. § 9(1) and 17 C.F.R. § 180.1(a)(1)-(3).

90. At all times relevant to this Complaint, Rust acted within the course and scope of
his employment, agency, or office with RRC. Pursuant to Section 2(a)(l)(B) of the Act, 7
U.S.C. § 2(a)(l)(B) (2012), and Regulation 1.2, 17 C.F.R. § 1.2 (2018), RRC is liable as
principal for Rust’s violations of7 U.S.C. § 9(1) and 17 C.F.R. § 180.1(a)(l)-(3).

91. Each act of using or employing, or attempting to use or employ, manipulative
devices, schemes, or artifices to defraud; making, or attempting to make, any untrue or
misleading statements of material fact or omissions of material fact; or engaging, or attempting
to engage, in acts, practices, or courses of business, which operated or would have operated as a
fraud or deceit upon participants in the Silver Pool, including, but not limited to, those
specifically alleged herein, is alleged as a separate and distinct violation of 7 U.S.C. § 9(1) and
17 C.F.R. § 180.1(a)(1)-(3).

VI. VIOLATIONS OF THE UTAH UNIFORM SECURITIES ACT
COUNT II - AGAINST ALL DEFENDANTS

MISREPRESENTATIONS AND OMISSIONS MADE IN CONNECTI()N WITH THE
OFFER AND SALE OF SECURITIES

Violations of Section 61-1-1(2) of the UUSA
(Brought by Plaintiff State of Utah)

92. The allegations in paragraphs 1-85 are re-alleged and incorporated herein by
reference.
93. Section 61-1-1(2) of the UUSA makes it unlawful:

for any person, in connection with the offer, sale, or purchase of
any security, directly or indirectly to:

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make any untrue statement of a material fact or to omit to state a
material fact necessary in order to make the statements made, in
the light of the circumstances under which they are made, not
misleading.

94. As described herein, Defendants Rust and RRC have violated and continue to
violate Section 61-1-1(2) of the UUSA by, among other things, (i) telling investors that their
funds would be used to purchase physical silver which would secure the investment and be
stored at Brinks, when in fact, the majority of investor funds were used to pay Rust’s personal
and business expenses, and to pay prior investors, and Brinks was not storing silver in that
quantity for the Defendants, and had no contract with Defendants to do so; (ii) telling investors
that half of the physical silver purchased with their investment funds would be traded by Rust
through a commodity account with HSBC bank, when in fact, the Defendants had no account
with HSBC; (iii) failing to tell investors that the Defendants were not licensed in the securities
industry; (iv) failing to provide investors with any disclosure documents such as a prospectus or
offering circular.

95. Each untrue statement of a material fact or omission of a material fact, including

but not limited to those specifically alleged herein, is alleged as a separate violation of Section

61-1-1(2) Ofthe UUSA.

COUNT III - AGAINST ALL DEFENDANTS

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ACT, PRACTICE, OR COURSE OF BUSINESS WHICH OPERATED
AS A FRAUD OR DECEIT

Violations of Section 61-1-1(3) of the UUSA
(Brought by Plaintiff State of Utah)

96. The allegations in paragraphs 1-85 are re-alleged and incorporated herein by
reference.
97. Section 61-1-1(3) of the UUSA makes it unlawful:

for any person, in connection with the offer, sale, or purchase of
any security, directly or indirectly to:

engage in any act, practice, or course of business which operates or
would operate as a fraud or deceit upon any person,

98. As described herein, Defendants Rust and RRC have violated and continue to
violate Section 61-1-1(3) of the UUSA by, among other things, using investor funds for purposes
not disclosed to investors or approved by investors, such as for Defendants’ personal and
business expenses, and payments to prior investors

99. Each act, practice, or course of business which operates or would operate as a
fraud or deceit upon any person, including but not limited to those specifically alleged herein, is
alleged as a separate violation of Section 61-1-1(3) of the UUSA.

COUNT IV - AGAINST DEFENDANT GAYLEN RUST
UNLICENSED BROKER-DEALER/AGENT

Violations of Section 61-1-3 of the UUSA
(Brought by Plaintiff State of Utah)

100. The allegations in paragraphs 1-85 are re-alleged and incorporated herein by

reference.

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101. Section 61-1-3(1) of the UUSA makes it unlawful “to transact business in this
state as a broker-dealer or agent unless the person is licensed under this chapter.”

102. As described herein, Defendant Rust has violated and continues to violate Section
61-1-3(1) of the UUSA by, among other things, offering and selling RRC securities in and from
the State of Utah, in return for compensation from RRC, without a license.

COUNT V - AGAINST DEFENDANT RRC
EMPLOYING AN UNLICENSED AGENT

Violation of Section 61-1-3 of the UUSA
(Brought by Plaintiff State of Utah)

103. The allegations in paragraphs 1-85 are re-alleged and incorporated herein by
reference.

104. Section 61-1-3(2)(a) of the UUSA makes it unlawful “for a broker-dealer or issuer
to employ or engage an agent unless the agent is licensed.”

105. As described herein, Defendant RRC has violated and continues to violate Section
61-1-3(2)(a) of the UUSA by, among other things, employing or engaging Rust to offer and sell
RRC securities in and from the State of Utah, while Rust was unlicensed.

COUNT VI - AGAINST ALL DEFENDANTS
UNREGISTERED SECURITIES

Violation of Section 61-1-7 of the UUSA
(Brought by Plaintiff State of Utah)

106. The allegations in paragraphs 1-85 are re-alleged and incorporated herein by
reference.

107. Section 61-1-7 of the UUSA makes it unlawful “for any person to offer or sell any

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security in this state unless it is registered under this chapter, the security or transaction is
exempted under Section 61-1-14, or the security is a federal covered security for which a notice
filing has been made pursuant to the provisions of Section 61-1-15.5.”

108. As described herein, Defendants have violated and continue to violate Section 61-

1-7 of the UUSA by offering and selling securities in Utah that are not registered under the
UUSA, that are not exempted under Section 61-1-14, and that are not federal covered securities
for which a notice filing has been made,

VII. RELIEF REQUESTED

The Commission and the State of Utah respectfully request that this Court, as authorized

by Section 6c of the Act, 7 U.S.C. § 13a-1 (2012), and pursuant to its own equitable powers:

A. F ind that Rust and RRC violated Section 6(c)(1) of the Commodity Exchange
Act, 7 U.S.C. § 9(1) (2012), and Commission Regulation 180.1(a)(1)-(3), 17
C.F.R. § 180.1(a)(1)-(3) (2018);

B. Find that Rust and RRC violated Sections 61-1-1(2), 61-1-1(3), 61-1-3, and 61-1-
7 of the UUSA;

C. Enter an order of permanent injunction enjoining Rust and RRC, and their
affiliates, agents, servants, employees, successors, assigns, attomeys, and all
persons in active concert with them, who receive actual notice of such order by
personal service or otherwise, from violating 7 U.S.C. § 9(1) and 17 C...FR
§ 180.1(a)(1)-(3) as well as Sections 61-1-1(2), 61-1-1(3), 61-1-3, and 61-1-7 of
the UUSA.

D. Enter an order of permanent injunction restraining and enjoining Rust and RRC,

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and their affiliates agents, servants, employees, successors assigns, attorneys,

and all persons in active concert with them, from directly or indirectly:

l)

2)

3)

4)

5)

6)

7)

Trading on or subject to the rules of any registered entity (as that term is
defined by Section 1a(40) of the Act, 7 U.S.C. § 1a(40) (2012));

Entering into any transactions involving “commodity interests” (as that
term is defined in Regulation 1.3, 17 C.F.R. § 1.3 (2018)), for accounts
held in the name of any Defendant or for accounts in which any Defendant
has a direct or indirect interest;

Having any commodity interests traded on any Defendant’s behalf;

Controlling or directing the trading for or on behalf of any other person or

entity, whether by power of attorney or otherwise, in any account

involving commodity interests;

Soliciting, receiving, or accepting any funds from any person for the
purpose of purchasing or selling of any commodity interests;

Applying for registration or claiming exemption from registration with the
CFTC in any capacity, and engaging in any activity requiring such
registration or exemption from registration with the CFTC except as
provided for in Regulation 4.14(a)(9), 17 C.F.R. § 4.14(a)(9) (2018);
Acting as a principal (as that term is defined in Regulation 3.1(a),

17 C.F.R. § 3.1(a) (2018)), agent, or any other officer or employee of any
person registered, exempted from registration, or required to be registered

with the CFTC except as provided for in 17 C.F.R. § 4.14(a)(9); and

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8) Associating with a licensed broker-dealer or investment adviser in Utah,
pursuant to Section 61-1-20 of the UUSA.
Enter an order directing Rust and RRC, as well as any third-party transferee
and/or successors thereof, to disgorge, pursuant to such procedure as the Court
may order, all benefits received including, but not limited to, salaries,
commissions, loans, fees, revenues, and trading profits derived, directly or
indirectly, from acts or practices which constitute violations of the Act or
Regulations, or Sections 61-1-1(2) or 61-1-1(3) of the UUSA, as described herein,
from November 6, 2013, to the present, including pre-judgment and post-
judgment interest.
Enter an order directing Relief Defendants R Legacy Entertainment, R. Legacy
Racing, R. Legacy Investments, Denise Rust, Joshua Rust, and Aleesha Franklin,
including any third-party transferee and/or successors thereof, to disgorge,
pursuant to such procedure as the Court may order, all benefits received
including, but not limited to, salaries, commissions loans, fees, revenues, and
trading profits derived, directly or indirectly, from acts or practices which
constitute violations of the Act or Regulations, or Sections 61 -1-1(2) or 61-1-1(3)
of the UUSA, as described herein, from November 6, 2013, to the present,
including pre-judgment and post-judgment interest;
Enter an Order requiring Rust and RRC to make restitution, pursuant to such
procedure as the Court may order, to persons who have sustained losses

proximately caused by Rust’s and RRC’s violations of the Act or Regulations, or

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` Sections 61-1-1(2) or 61 -1-1(3) of the UUSA, as described herein, including pre-
judgment and post-judgment interest;
Enter an order directing Rust and RRC to rescind, pursuant to such procedures as
the Court may order, all contracts and agreements, whether implied or express,
entered into between Rust or RRC and any of the investors whose funds were
received by Rust or RRC as a result of Rust’s and RRC’s violations of the Act or
Regulations, or Sections 61-1-1(2) or 61-1-1(3) of the UUSA, as described herein;
Enter an order directing Rust and RRC to pay a civil monetary penalty assessed
by the Court, in an amount not to exceed the penalty prescribed by Section
6c(d)(l) of the Act, 7 U.S.C. § 13a-1(d)(1) (2012), as adjusted for inflation
pursuant to the Federal Civil Penalties Inflation Adjustment Act Improvements
Act of 2015, Pub. L. 114-74, title VII, § 701, 129 Stat. 584, 599-600, see
Regulation 143.8, 17 C.F.R. § 143.8 (2018), for each violation of the Act or
Regulations, as described herein, from November 6, 2013, to the present;
Enter an order requiring Rust and Rust Rare Coin to pay costs and fees as
permitted by 28 U.S.C. §§ 1920 and 2413(a)(2) (2012);
Enter an order appointing a receiver; and »"‘
Enter an order providing such other and further relief as this Court may deem

necessary and appropriate under the circumstances

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Dated: November 13 2018

 

Respectfully submitted,

COMMODITY FUTURES TRADING
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